                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
v.                                                )      Criminal No. 2:11-00002
                                                  )      Judge Trauger
                                                  )
[13] EMILY CAROL BRADLEY                          )

                                           ORDER

       It is hereby ORDERED that a hearing shall be held on the Superseding Petition to

Revoke Probation (Docket No. 1454) on Wednesday, April 10, 2013, at 2:00 p.m.

       It is so ORDERED.

       Enter this 2nd day of April 2013.



                                                  ___________________________________
                                                          ALETA A. TRAUGER
                                                        United States District Judge




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